   Case 16-11170-SDM Doc 31 Filed 05/29/19 Entered 05/29/19 12:43:34                         Desc
                                  Page 1BANKRUPTCY
                  IN THE UNITED STATES   of 2        COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                    CHAPTER 13 NO:

MARK A. KNIGHT                                                       16-11170


                               NOTICE IS HEREBY GIVEN THAT A

                                    MOTION TO DISMISS CASE

HAS BEEN FILED BY TERRE M. VARDAMAN, CHAPTER 13 TRUSTEE, IN THE ABOVE
CAPTIONED CASE.

LAST DAY TO FILE OBJECTIONS OR RESPONSES IS: JUNE 21, 2019.

Should any party receiving this notice respond or object to said motion, such response or objection is
required to be filed with the Clerk of this Court and a copy served on the Attorney for Movant on or
before said objection due date. If any objection or response is filed, a hearing will be scheduled by the
Court; otherwise, the Court may consider said motion immediately after the objection or response due
date.

                                     CERTIFICATE OF SERVICE

       I, Terre M. Vardaman, do hereby certify that I have this day mailed a true and correct copy of
the above and foregoing Notice along with the subject Motion, copy attached, to the Debtor, the
Debtor’s Attorney, all affected creditors, and the United States Trustee, all by United States Mail,
postage prepaid.

DATED:         May 29, 2019.
                                                     ______________________________
                                                     /S/ TERRE M. VARDAMAN
    Case 16-11170-SDM Doc 31 Filed 05/29/19 Entered 05/29/19 12:43:34                                             Desc
                                   Page 2BANKRUPTCY
                   IN THE UNITED STATES   of 2        COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                                   CHAPTER 13 NO:

MARK A. KNIGHT                                                                      16-11170

                                                MOTION TO DISMISS

        COMES NOW, Trustee, and files this her Motion to Dismiss the above styled and numbered
case, and in support of same, would show unto the Court the following:

         1.       The Debtor’s below-median plan was confirmed in June 2016, for a period of 60
                  months with 67.6% to unsecured creditors.
         2.       The Trustee received a check in the amount of $10,330.85 on behalf of the Debtor from
                  Community Mortgage and Loans d/b/a Easy Finance of Iuka on or about May 20, 2019.
         3.       The Trustee’s office called the creditor to inquire why the lump sum payment was being
                  made, and was advised that they had “made the debtor a loan to pay off his bankruptcy
                  case.”
         4.       Upon information and belief, the Debtor did not obtain prior authorization of this Court
                  to incur a new debt, as required.
         5.       The Debtor is ineligible for a discharge in this case, but that should not excuse him from
                  the requirement of obtaining Court permission to borrow any more funds, nor should the
                  Creditor be excused from extending credit to a debtor in bankruptcy.
         6.       This case should be dismissed for Debtor’s failure to obtain permission from the Court
                  to incur any new debt.
         7.       The Trustee has not yet deposited these funds in her trust account, and would show that
                  the funds should be returned to the Creditor in full satisfaction of whatever loan they
                  have extended to the Debtor in violation of the requirement that the Debtor obtain Court
                  approval prior to incurring any post-petition debt.
         8.       Other grounds to be shown at the hearing hereon.

         DATED: May 29, 2019                            Respectfully submitted:

                                                        ______________________________________
                                                        /S/ JEFFREY K. TYREE, MSB#9049
                                                        ATTORNEY FOR TERRE M. VARDAMAN,
                                                        CHAPTER 13 TRUSTEE
                                                        PO BOX 1326, BRANDON MS 39043-1326
                                                        601-825-7663; vardaman13ecf@gmail.com


                                                 CERTIFICATE OF SERVICE
          I, Jeffrey K. Tyree, attorney for the Chapter 13 Trustee, do hereby certify that I have this day filed the foregoing
with the clerk of this court using the CM/ECF system, and I further certify that I served a true and correct copy of same,
either electronically or via United States Mail, postage prepaid, to the UNITED STATES TRUSTEE and the following:



Mark A. Knight                       Community Mortgage d/b/a Easy Finance                   John C. Ross, Jr.
102 Meadowbrook Circle               PO Box 223                                              jcurleeross@gmail.com
Iuka, MS 38852                       Iuka, MS 38852


         Dated: May 29, 2019.                           __________________________________________
                                                        /S/ JEFFREY K. TYREE
